Case No. 1:08-cv-01757-MSK-KMT Document 1-2 filed 08/18/08 USDC Colorado pg1of1

Court Name: U.S. District Court, Colorad

0

Division: 1

Receipt Nupber: COXG12268
Cashier ID: sq

Transaction Date: 08/15/2888
Payer Name: BRONWYN H PEPPLE

CIVIL FILING FEE
For: BRONWYN H PEPPL

Amount: - $358.88
CREDIT CARD

but Tendered: $358.08
Total Dues $350.00

Total Tendered: $358.88
Change Amt: $0,088

B8-CV-B1757

A fee of $45.08 will be assessed on
any Tetumed check.
